                              Case 18-10334       Doc 98       Filed 01/24/18     Page 1 of 1

                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF MARYLAND
                                            at Greenbelt
                                    In re:   Case No.: 18−10334 − WIL         Chapter: 11

The Condominium Association of the Lynnhill
Condominium
Debtor


                                             DEFICIENCY NOTICE
DOCUMENT: 97 − Assignment of Claims Transfer Agreement 3001 (e) 1 Transferor: Vito Plumbing To Dragone
          Realty, Inc. Fee Amount $25 Filed by Dragone Realty LLC. (Kasdan, Ira)

PROBLEM:           The following items are deficient for the above pleading, and must be cured by 2/7/18.

CURE:              The filing fee of $25 for Transfer of Claim must be paid by Dragone Realty LLC.
                   (28 U.S.C. §1930)

                   Any filing fee may be paid in cash, by money order or certified check, payable to Clerk, U.S.
                   Bankruptcy Court. Submit the payment by mail with a copy of this notice enclosed or in person at
                   one of the following locations:

                           U.S. Bankruptcy Court                       U.S. Bankruptcy Court
                           Garmatz Federal Courthouse                  U.S. Courthouse
                           101 W. Lombard Street, Suite 8530           6500 Cherrywood Lane, Suite 300
                           Baltimore, MD 21201                         Greenbelt, MD 20770

                   For attorneys/trustees: Login to CM/ECF. If you see the fee due on the first screen or under Utilities,
                   Internet Payment, select it and proceed with payment. If the fee is not shown on those screens, click
                   Bankruptcy/Adversary, Miscellaneous, and then the appropriate "Filing Fee" event. Select the
                   document for which the fee was originally due. Accept the displayed fee amount, or enter the
                   amount you are paying. Proceed with payment.




Additional information on filing requirements: http://www.mdb.uscourts.gov/content/filing−requirements.
Additional information for non−attorney filers: http://www.mdb.uscourts.gov/content/after−filing.

Dated: 1/24/18
                                                               Mark A. Neal, Clerk of Court
                                                               by Deputy Clerk, Laurie Arter
                                                               301−344−3327
cc:    Debtor
       Attorney for Debtor − Patrick John Potter
       Creditor − Dragone Realty LLC

defntc (rev. 12/12/2016)
